               Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                         Desc Main
                                                                            Document     Page 1 of 33
Form 6-Summary (10/06)



          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                                  United States Bankruptcy Court
                                                                            Eastern District of Virginia
  In re          Michelle Naomi Campbell-Thomas                                                                        Case No.      07-10381
                                                                                                                ,
                                                                                               Debtor
                                                                                                                       Chapter                     13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                 LIABILITIES               OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                 1,000,000.00


B - Personal Property                                             Yes                 3                  287,850.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 1                                      1,004,141.00


E - Creditors Holding Unsecured                                   Yes                 2                                            9,681.35
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 2                                           13,928.00
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                   12,000.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                   11,640.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            14


                                                                                Total Assets            1,287,850.00


                                                                                                 Total Liabilities           1,027,750.35




Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                     Best Case Bankruptcy
                Case 07-10381-SSM                            Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                   Desc Main
                                                                            Document     Page 2 of 33
Official Form 6 - Statistical Summary (10/06)



          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                                  United States Bankruptcy Court
                                                                            Eastern District of Virginia
  In re            Michelle Naomi Campbell-Thomas                                                                       Case No.   07-10381
                                                                                                             ,
                                                                                           Debtor
                                                                                                                        Chapter                    13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)                                                         0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                 9,681.35

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                     0.00

              Student Loan Obligations (from Schedule F)                                                             0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                     0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                     0.00

                                                                                  TOTAL                          9,681.35


              State the following:

              Average Income (from Schedule I, Line 16)                                                      12,000.00

              Average Expenses (from Schedule J, Line 18)                                                    11,640.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                           6,000.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                         4,141.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                 8,979.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                              702.35

              4. Total from Schedule F                                                                                                  13,928.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                              18,771.35




Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                    Best Case Bankruptcy
               Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                      Desc Main
                                                                            Document     Page 3 of 33
Form B6A
(10/05)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           A
           .
           R
           a
           P
           r
           o
           p
           t
           y




  In re          Michelle Naomi Campbell-Thomas                                                                        Case No.      07-10381
                                                                                                           ,
                                                                                           Debtor

                                                                 SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                         Husband,    Current Value of
                                                                                 Nature of Debtor's       Wife,     Debtor's Interest in             Amount of
                 Description and Location of Property                            Interest in Property     Joint, or  Property, without              Secured Claim
                                                                                                        Community Deducting  any Secured
                                                                                                                    Claim or Exemption

43118 Rocky Ridge Court, Lansdowne, Virginia                                     Owned as                      -                  1,000,000.00          1,004,141.00
20176                                                                            Tenants-by-the-Entirety




                                                                                                           Sub-Total >        1,000,000.00         (Total of this page)

                                                                                                                   Total >    1,000,000.00
  0     continuation sheets attached to the Schedule of Real Property                                      (Report also on Summary of Schedules)
Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                      Best Case Bankruptcy
               Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                            Desc Main
                                                                            Document     Page 4 of 33
Form B6B
(10/05)


           }
           {
           b
           k
           1
           S
           c
           h
           e
           d
           u
           l
           B
           .
           P
           r
           s
           o
           n
           a
           p
           t
           y




  In re          Michelle Naomi Campbell-Thomas                                                                         Case No.       07-10381
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              Cash on hand                                                      -                            60.00

2.     Checking, savings or other financial                      Checking & Savings Accounts                                       -                            80.00
       accounts, certificates of deposit, or                     w/ Bank of America
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Dining Set, Tables, Chairs, Appliances,                           -                      61,500.00
       including audio, video, and                               China Cabinet, Sofas, Coffee Tables, Piano,
       computer equipment.                                       End Tables, TV's, Electronics, Entertainment
                                                                 Center, Lamps, Chairs, Beds, Dressers,
                                                                 Night Stands, Desk, Computer, Small
                                                                 Household Appliances & Housewares

5.     Books, pictures and other art                             Books, Pictures, Small                                            -                           350.00
       objects, antiques, stamp, coin,                           Household Items
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Debtors' Clothing                                                 -                           650.00

7.     Furs and jewelry.                                         Wedding Ring                                                      -                        5,000.00

8.     Firearms and sports, photographic,                        Camera, Videocamera, Golf Clubs,                                  -                      10,200.00
       and other hobby equipment.                                Firearms, Exercise Equipment,
                                                                 Salon Equipment

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.

                                                                                                                                   Sub-Total >          77,840.00
                                                                                                                       (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
              Case 07-10381-SSM                              Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                            Desc Main
                                                                            Document     Page 5 of 33
Form B6B
(10/05)




  In re          Michelle Naomi Campbell-Thomas                                                                         Case No.       07-10381
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                          Federal & State Income Tax Refunds                                -                            10.00
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >                10.00
                                                                                                                       (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
              Case 07-10381-SSM                              Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                             Desc Main
                                                                            Document     Page 6 of 33
Form B6B
(10/05)




  In re          Michelle Naomi Campbell-Thomas                                                                         Case No.        07-10381
                                                                                                            ,
                                                                                           Debtor

                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2005 Jaguar                                                        -                     30,000.00
    other vehicles and accessories.
                                                                 2006 Land Rover                                                    -                     40,000.00

                                                                 1948 Plymouth                                                      -                     20,000.00

                                                                 2006 Dump Truck                                                    -                    120,000.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.


                                                                                                                                   Sub-Total >         210,000.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >        287,850.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                             Desc Main
                                                                        Document     Page 7 of 33
Form B6C
10/05

 In re       Michelle Naomi Campbell-Thomas                                                                            Case No.       07-10381
                                                                                             Debtor(s)

                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under:                                   o Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                                          $125,000.
o 11 U.S.C. §522(b)(2)
n 11 U.S.C. §522(b)(3)
                                                                                                                           Value of             Current Value of
                                                                                    Specify Law Providing
                   Description of Property                                                                                 Claimed             Property Without
                                                                                       Each Exemption
                                                                                                                          Exemption           Deducting Exemption


 Real Property

 43118 Rocky Ridge Court, Lansdowne,
 Virginia 20176                                                       Va. Code Ann. § 34-4                                        1,000.00           1,000,000.00

 Cash on Hand

 Cash on hand                                                         Va. Code Ann. § 34-4                                            60.00                    60.00

 Checking, Savings, or Other Financial Accounts, Certificates of Deposit

 Checking & Savings Accounts
 w/ Bank of America                                                   Va. Code Ann. § 34-4                                            80.00                    80.00

 Household Goods and Furnishings

 Dining Set, Tables, Chairs, Appliances,
 China Cabinet, Sofas, Coffee Tables,
 Piano,
 End Tables, TV's, Electronics,
 Entertainment
 Center, Lamps, Chairs, Beds, Dressers,
 Night Stands, Desk, Computer, Small
 Household Appliances & Housewares                                    Va. Code Ann. § 34-26(4a)                                   5,000.00               61,500.00

 Books, Pictures and Other Art Objects; Collectibles

 Books, Pictures, Small
 Household Items                                                      Va. Code Ann. § 34-4                                            10.00                  350.00

 Wearing Apparel

 Debtors' Clothing                                                    Va. Code Ann. § 34-26(4)                                     650.00                    650.00

 Furs and Jewelry

 Wedding Ring                                                         Va. Code Ann. § 34-26(1a)                                   5,000.00                 5,000.00

 Firearms and Sports, Photographic and Other Hobby Equipment

 Camera, Videocamera, Golf Clubs,
 Firearms, Exercise Equipment,
 Salon Equipment                                                      Va. Code Ann. § 34-4                                         490.00                10,200.00




Schedule of Property Claimed as Exempt consists of 2 total pages
Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09               Desc Main
                                                                        Document     Page 8 of 33
Form B6C
10/05

                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
                                                                                     (Continuation Sheet)
                                                                                                             Value of             Current Value of
                                                                                    Specify Law Providing
                   Description of Property                                                                   Claimed             Property Without
                                                                                       Each Exemption
                                                                                                            Exemption           Deducting Exemption

 Other Liquidated Debts Owing Debtor Including Tax Refund

 Federal & State Income Tax Refunds                                   Va. Code Ann. § 34-4                              10.00                    10.00

 Automobiles, Trucks, Trailers, and Other Vehicles

 2005 Jaguar                                                          Va. Code Ann. § 34-4                          500.00                 30,000.00


 2006 Land Rover                                                      Va. Code Ann. § 34-26(8)                    2,000.00                 40,000.00


 1948 Plymouth                                                        Va. Code Ann. § 34-4                        3,350.00                 20,000.00


 2006 Dump Truck                                                      Va. Code Ann. § 34-26(7)                   10,000.00               120,000.00




                                                                                             Total:              28,150.00             1,287,850.00




Sheet 2 of 2 total sheets in Schedule of Property Claimed as Exempt
Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                            Best Case Bankruptcy
                Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                              Desc Main
                                                                             Document     Page 9 of 33
 Official Form 6D (10/06)



           }
           c
           b
           u
           k
           r
           1
           e
           {
           d
           S
           C
           h
           l
           a
           i
           m
           s
           D
           .
           t
           o
           H
           n
           g




   In re           Michelle Naomi Campbell-Thomas                                                                                Case No.     07-10381
                                                                                                                    ,
                                                                                                     Debtor

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                            O    N   I
                                                                D   H        DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W            NATURE OF LIEN, AND                         I    Q   U                      PORTION, IF
                                                                T   J          DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                            G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C               OF PROPERTY
                                                                R
                                                                                   SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                             Mortgage                                                  E
                                                                                                                                  D

America's Servicing Company                                             43118 Rocky Ridge Court, Lansdowne,
7495 New Horizon Way                                                    Virginia 20176
Frederick, MD 21703
                                                                    -

                                                                         Value $                         1,000,000.00                         740,000.00                   0.00
Account No. 39934476                                                    2006

Ocwen                                                                   Second Mortgage
1675 Palm Beach Lakes Blvd.
West Palm Beach, FL 33401                                             43118 Rocky Ridge Court, Lansdowne,
                                                                    - Virginia 20176

                                                                         Value $                         1,000,000.00                         264,141.00             4,141.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                          1,004,141.00             4,141.00
                                                                                                                 (Total of this page)
                                                                                                                             Total          1,004,141.00             4,141.00
                                                                                                   (Report on Summary of Schedules)

 Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                             Best Case Bankruptcy
               Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                               Desc Main
                                                                           Document      Page 10 of 33
Official Form 6E (10/06)



          }
          s
          b
          e
          k
          c
          1
          u
          {
          r
          S
          d
          h
          P
          i
          l
          o
          E
          t
          .
          y
          C
          a
          m
          H
          n
          g
          U




  In re           Michelle Naomi Campbell-Thomas                                                                          Case No.         07-10381
                                                                                                              ,
                                                                                           Debtor

                       SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                Best Case Bankruptcy
                 Case 07-10381-SSM                            Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                               Desc Main
                                                                            Document      Page 11 of 33
 Official Form 6E (10/06) - Cont.




   In re            Michelle Naomi Campbell-Thomas                                                                               Case No.      07-10381
                                                                                                                    ,
                                                                                                     Debtor

                         SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No.                                                             2005                                                      E
                                                                                                                                  D

Fairfax County                                                          Property Taxes
Dept. of Tax Administration                                                                                                                                  0.00
P.O. Box 10200
                                                                    -
Fairfax, VA 22035-0200

                                                                                                                                                 2,178.00              2,178.00
Account No.                                                             2005

Internal Revenue Service                                                Income Taxes
Philadelphia, PA 19255                                                                                                                                       0.00

                                                                    -

                                                                                                                                                 2,301.00              2,301.00
Account No.                                                             2006

Loudoun County                                                          Real Estate Taxes
Treasurer                                                                                                                                                    0.00
P.O. Box 347
                                                                    -
Leesburg, VA 20178

                                                                                                                                                 4,500.00              4,500.00
Account No.                                                             Income Taxes

Virginia Dept. of Taxation
P.O. Box 2369                                                                                                                                                702.35
Richmond, VA 23218
                                                                    -

                                                                                                                                                   702.35                    0.00
Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           702.35
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)            9,681.35             8,979.00
                                                                                                                             Total                           702.35
                                                                                                   (Report on Summary of Schedules)              9,681.35             8,979.00

 Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                               Best Case Bankruptcy
                Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                               Desc Main
                                                                            Document      Page 12 of 33
 Official Form 6F (10/06)



           }
           s
           b
           e
           k
           c
           1
           u
           {
           r
           S
           d
           h
           N
           o
           n
           l
           p
           i
           F
           .
           C
           t
           y
           a
           m
           H
           g
           U




   In re           Michelle Naomi Campbell-Thomas                                                                             Case No.     07-10381
                                                                                                                          ,
                                                                                                        Debtor


                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. 0215747218                                                                   Services                                            T   T
                                                                                                                                                 E
                                                                                                                                                 D

ADT Security Systems
c/o Collectech                                                                       -
P.O. Box 361567
Columbus, OH 43236
                                                                                                                                                                           253.00
Account No.                                                                              Services

Audio Clinic
ACI Home Theater                                                                     -
905 Bonifant Street
Cranston, RI 02910
                                                                                                                                                                         1,068.00
Account No.                                                                              Medical Bill

Commonwealth Emergency Phys.
P.O. Box 13700-1369                                                                  -
Philadelphia, PA 19191

                                                                                                                                                                           369.00
Account No. 024009458                                                                    Services

Directv
P.O. Box 78626                                                                       -
Phoenix, AZ 85062

                                                                                                                                                                           237.00

                                                                                                                                           Subtotal
 1
_____ continuation sheets attached                                                                                                                                       1,927.00
                                                                                                                                 (Total of this page)




 Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                             S/N:21289-070131   Best Case Bankruptcy
                 Case 07-10381-SSM                            Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                                      Desc Main
                                                                            Document      Page 13 of 33
 Official Form 6F (10/06) - Cont.




   In re            Michelle Naomi Campbell-Thomas                                                                                  Case No.      07-10381
                                                                                                                           ,
                                                                                                        Debtor

                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
                  AND MAILING ADDRESS                                            D   H                                                              N   L   S
                   INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                  AND ACCOUNT NUMBER                                             T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 8449991                                                                      Medical Bill                                                   E
                                                                                                                                                        D

Fairfax Radiological Cons.
2722 Merrilee Drive, Ste. 230                                                        -
Fairfax, VA 22031

                                                                                                                                                                                 72.00
Account No.                                                                              HOA Fees

Lansdowne on the Potomac
c/o Community Management                                                             -
P.O. Box 10821
Chantilly, VA 20153
                                                                                                                                                                             3,838.00
Account No. 1CA6463161                                                                   Medical Bill

Quest Diagnostics
P.O. Box 64797                                                                       -
Baltimore, MD 21264-4797

                                                                                                                                                                               214.00
Account No. 4400226037740100                                                             Medical Bill

Southern Polytech State
c/o ACS                                                                              -
P.O. Box 3295
Milwaukee, WI 53201
                                                                                                                                                                               242.00
Account No.                                                                              Landscaping Services

Through the Garden
263 Chipley School Road                                                              -
Harpers Ferry, WV 25425

                                                                                                                                                                             7,635.00

           1
Sheet no. _____     1
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                           12,001.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 13,928.00


 Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                                    Best Case Bankruptcy
                  Case 07-10381-SSM                          Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                   Desc Main
                                                                           Document      Page 14 of 33
Form B6G
(10/05)


           }
           a
           b
           n
           k
           d
           1
           {
           U
           S
           c
           e
           h
           x
           p
           i
           u
           r
           l
           G
           L
           .
           E
           s
           t
           o
           y
           C




  In re             Michelle Naomi Campbell-Thomas                                                                Case No.       07-10381
                                                                                                       ,
                                                                                       Debtor

                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                    Best Case Bankruptcy
               Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09           Desc Main
                                                                           Document      Page 15 of 33
Form B6H
(10/05)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           .
           C
           o
           t
           r
           s




  In re          Michelle Naomi Campbell-Thomas                                                          Case No.       07-10381
                                                                                                  ,
                                                                                       Debtor

                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR




       0       continuation sheets attached to Schedule of Codebtors

Copyright (c) 1996-2006 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                           Best Case Bankruptcy
            Case 07-10381-SSM                Doc 15       Filed 03/14/07 Entered 03/14/07 16:11:09                              Desc Main
                                                        Document      Page 16 of 33
Official Form 6I (10/06)


  In re       Michelle Naomi Campbell-Thomas                                                             Case No.       07-10381
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
        Married                                None.

 Employment:                                             DEBTOR                                                  SPOUSE
 Occupation                           IT Solutions - Self Employed                              Trucking
 Name of Employer                     MCA, Inc.                                                 DTS Transportation
 How long employed                    12 Years                                                  2 Years
 Address of Employer                  43118 Rocky Ridge Ct.,
                                      Leesburg, VA 20176
 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $         6,000.00       $         6,000.00
 2. Estimate monthly overtime                                                                             $             0.00       $             0.00

 3. SUBTOTAL                                                                                              $         6,000.00       $         6,000.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $              0.00      $             0.00
     b. Insurance                                                                                         $              0.00      $             0.00
     c. Union dues                                                                                        $              0.00      $             0.00
     d. Other (Specify):                                                                                  $              0.00      $             0.00
                                                                                                          $              0.00      $             0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $             0.00

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         6,000.00       $         6,000.00

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $              0.00      $             0.00
 8. Income from real property                                                                             $              0.00      $             0.00
 9. Interest and dividends                                                                                $              0.00      $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $              0.00      $             0.00
 11. Social security or government assistance
 (Specify):                                                                                               $              0.00      $             0.00
                                                                                                          $              0.00      $             0.00
 12. Pension or retirement income                                                                         $              0.00      $             0.00
 13. Other monthly income
 (Specify):                                                                                               $              0.00      $             0.00
                                                                                                          $              0.00      $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              0.00      $             0.00

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         6,000.00       $         6,000.00

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $            12,000.00
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
          Case 07-10381-SSM            Doc 15     Filed 03/14/07 Entered 03/14/07 16:11:09                       Desc Main
                                                Document      Page 17 of 33
Official Form 6J (10/06)


 In re      Michelle Naomi Campbell-Thomas                                                    Case No.    07-10381
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                7,904.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                  450.00
                   b. Water and sewer                                                                       $                  510.00
                   c. Telephone                                                                             $                  120.00
                   d. Other Cell                                                                            $                  345.00
3. Home maintenance (repairs and upkeep)                                                                    $                  200.00
4. Food                                                                                                     $                  595.00
5. Clothing                                                                                                 $                   90.00
6. Laundry and dry cleaning                                                                                 $                   60.00
7. Medical and dental expenses                                                                              $                   60.00
8. Transportation (not including car payments)                                                              $                  245.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   30.00
10. Charitable contributions                                                                                $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    0.00
                   b. Life                                                                                  $                    0.00
                   c. Health                                                                                $                    0.00
                   d. Auto                                                                                  $                  320.00
                   e. Other                                                                                 $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                    0.00
                   b. Other Husband's car payment                                                           $                  711.00
                   c. Other                                                                                 $                    0.00
                   d. Other                                                                                 $                    0.00
14. Alimony, maintenance, and support paid to others                                                        $                    0.00
15. Payments for support of additional dependents not living at your home                                   $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                    0.00
17. Other                                                                                                   $                    0.00
    Other                                                                                                   $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $               11,640.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $               12,000.00
b. Average monthly expenses from Line 18 above                                                              $               11,640.00
c. Monthly net income (a. minus b.)                                                                         $                  360.00
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                  Desc Main
                                                                       Document      Page 18 of 33
Official Form 6-Declaration. (10/06)

                                                                  United States Bankruptcy Court
                                                                            Eastern District of Virginia
 In re       Michelle Naomi Campbell-Thomas                                                                        Case No.   07-10381
                                                                                             Debtor(s)             Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                16  sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date March 14, 2007                                                            Signature    /s/ Michelle Naomi Campbell-Thomas
                                                                                             Michelle Naomi Campbell-Thomas
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                               Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                        Desc Main
                                                                       Document      Page 19 of 33
Official Form 7
(10/05)


                                                                  United States Bankruptcy Court
                                                                            Eastern District of Virginia
 In re       Michelle Naomi Campbell-Thomas                                                                       Case No.       07-10381
                                                                                             Debtor(s)            Chapter        13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
     o            business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $20,000.00                               Income - 2007
                           $100,000.00                              Income - 2006

                  2. Income other than from employment or operation of business

    None          State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
     n            during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE



Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                        Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                  Desc Main
                                                                       Document      Page 20 of 33

                                                                                                                                                             2

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.
     n
               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                            AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                      AMOUNT PAID             OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
     n         immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                     AMOUNT
                                                                                   DATES OF                           PAID OR
                                                                                   PAYMENTS/                        VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                       TRANSFERS             OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
     n         creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT               AMOUNT PAID             OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
     n         this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION            DISPOSITION

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
     n         returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                   Desc Main
                                                                       Document      Page 21 of 33

                                                                                                                                                              3

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     n         this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
     n         preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
     n         and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
     n         since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
     n         concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                         AMOUNT OF MONEY
 NAME AND ADDRESS                                                                NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
    OF PAYEE                                                                         THAN DEBTOR                              OF PROPERTY

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
     n         transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                    Desc Main
                                                                       Document      Page 22 of 33

                                                                                                                                                                4
    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
     n         trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                             AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF          VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)         IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
     n         otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
     n         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                   DESCRIPTION                DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                   OF CONTENTS                 SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
     n         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                         AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.
     n
                                                                                 DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                              PROPERTY                        LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
     n         occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                         NAME USED                              DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
     n         Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME


Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                    Desc Main
                                                                       Document      Page 23 of 33

                                                                                                                                                               5

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
     n         or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                 DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                        LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     n         Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                 DATE OF                       ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                        LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     n         the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                               DOCKET NUMBER                          STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
     o         ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                  NATURE OF BUSINESS               ENDING DATES
 MCA Computer Group                                                                               IT Solutions                     1996 - 2007

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
     n
 NAME                                                                           ADDRESS




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                     Desc Main
                                                                       Document      Page 24 of 33

                                                                                                                                                                6

    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
     n         supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
     n         of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                                  DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     n         of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
     n         issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
     n         and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
     n
                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
     n
 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
     n         controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                           Desc Main
                                                                       Document      Page 25 of 33

                                                                                                                                                                      7

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     n         commencement of this case.

 NAME                                                              ADDRESS                                                 DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
     n         immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                            DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     n         in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
     n         group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
     n         employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date March 14, 2007                                                            Signature    /s/ Michelle Naomi Campbell-Thomas
                                                                                             Michelle Naomi Campbell-Thomas
                                                                                             Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                   Desc Main
                                                                       Document      Page 26 of 33
Form B203                                                                                                           2005 USBC, Eastern District of Virginia
                                                                  United States Bankruptcy Court
                                                                            Eastern District of Virginia
 In re       Michelle Naomi Campbell-Thomas                                                                    Case No.     07-10381
                                                                                             Debtor(s)         Chapter      13


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
       compensation paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
       bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                  3,000.00
              Prior to the filing of this statement I have received                                        $                       0.00
              Balance Due                                                                                  $                  3,000.00

2.     The source of the compensation paid to me was:

              n    Debtor            o Other (specify)

3.     The source of compensation to be paid to me is:

              n    Debtor            o Other (specify)

4.       n   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Other provisions as needed:
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                           Desc Main
                                                                       Document      Page 27 of 33
Form B203 - Continued                                                                                                       2005 USBC, Eastern District of Virginia
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

      March 14, 2007                                                                         /s/ Nathan Fisher
      Date                                                                                   Nathan Fisher
                                                                                             Signature of Attorney

                                                                                             Nathan Fisher
                                                                                             Name of Law Firm
                                                                                             3977 Chain Bridge Rd., #2
                                                                                             Fairfax, VA 22030
                                                                                             (703) 691-1642



                                   For use in Chapter 13 Cases where Fees Requested Not in Excess of $3,000
                                                  (For all Cases Filed on or after 10/17/2005)
                                             NOTICE TO DEBTOR(S) AND STANDING TRUSTEE
                                             PURSUANT TO INTERIM PROCEDURE 2016-1(C)(7)

            Notice is hereby given that pursuant to Local Bankruptcy Rule 2016-1(C)(7)(a), you have ten (10) business days from the meeting of
 creditors in this case in which to file an objection with the court to the fees requested in this disclosure of compensation opposing said fees in their
 entirety, or in a specific amount.


                                                                               PROOF OF SERVICE
           The undersigned hereby certifies that on this date the foregoing Notice was served upon the debtor(s), the standing Chapter 13 Trustee,
 and U. S. Trustee pursuant to Interim Procedure 2016-1(C)(7)(a) and Local Bankruptcy Rule 2002-1(D)(1)(f), by first-class mail or electronically.


      March 14, 2007                                                                                /s/ Nathan Fisher
      Date                                                                                          Nathan Fisher
                                                                                                    Signature of Attorney




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                           Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                             Desc Main
                                                                       Document      Page 28 of 33
Official Form 22C (Chapter 13) (10/06)

 In re      Michelle Naomi Campbell-Thomas                                                    According to the calculations required by this statement:
                         Debtor(s)                                                o The applicable commitment period is 3 years.
 Case Number:            07-10381                                                 n The applicable commitment period is 5 years.
                                   (If known)
                                                                                  n Disposable income is determined under § 1325(b)(3).
                                                                                  o Disposable income is not determined under § 1325(b)(3).
                                                                                  (Check the boxes as directed in Lines 17 and 23 of this statement.)


               CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
         AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                                                    Part I. REPORT OF INCOME
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1        a.   o Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
              b.    n Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
              All figures must reflect average monthly income received from all sources, derived during the six                    Column A            Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before the
              filing. If the amount of monthly income varied during the six months, you must divide the six-                       Debtor's             Spouse's
              month total by six, and enter the result on the appropriate line.                                                    Income                Income

     2        Gross wages, salary, tips, bonuses, overtime, commissions.                                                       $      6,000.00    $          6,000.00
              Income from the operation of a business, profession, or farm. Subtract Line b from Line a
              and enter the difference in the appropriate column(s) of Line 3. Do not enter a number less than
              zero. Do not include any part of the operating expenses entered on Line b as a deduction
              in Part IV.
     3                                                                     Debtor                Spouse
               a.    Gross receipts                                $               0.00 $                   0.00
               b.      Ordinary and necessary business expenses                    $               0.00    $            0.00
               c.      Business income                                             Subtract Line b from Line a                 $           0.00   $                0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
              part of the business expenses entered on Line b as a deduction in Part IV.
     4                                                                    Debtor                Spouse
               a.    Gross receipts                                $               0.00 $                0.00
               b.      Ordinary and necessary operating expenses                    $               0.00   $            0.00
               c.      Rent and other real property income                          Subtract Line b from Line a                $           0.00   $                0.00
     5        Interest, dividends, and royalties.                                                                              $           0.00   $                0.00
     6        Pension and retirement income.                                                                       $                       0.00   $                0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
     7        expenses of the debtor or the debtor's dependents, including child or spousal support. Do
              not include amounts paid by the debtor's spouse.                                                     $                       0.00   $                0.00
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A or B,
     8        but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act                Debtor $              0.00   Spouse $          0.00   $           0.00   $                0.00
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Total and enter on Line 9. Do not include any benefits received under the
              Social Security Act or payments received as a victim of a war crime, crime against humanity, or as a
     9        victim of international or domestic terrorism.
                                                                         Debtor                   Spouse
               a.                                               $                        $
               b.                                               $                        $                                     $           0.00   $                0.00
    10
              Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9 in
              Column B. Enter the total(s).                                                                                    $      6,000.00    $          6,000.00
    11
              Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
              the total. If Column B has not been completed, enter the amount from Line 10, Column A.                          $                          12,000.00




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                            Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                                  Desc Main
                                                                       Document      Page 29 of 33
Official Form 22C (Chapter 13) (10/06) - Cont.                                                                                                                              2



                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12        Enter the amount from Line 11                                                                                                          $         12,000.00
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
              calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
    13
              enter the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for the household
              expenses of you or your dependents. Otherwise, enter zero.
                                                                                                                                                     $                 0.00
    14        Subtract Line 13 from Line 12 and enter the result.
                                                                                                                                                     $         12,000.00
              Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
    15
              12 and enter the result.
                                                                                                                                                     $       144,000.00
              Applicable median family income. Enter the median family income for applicable state and household size.
              (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
    16

               a. Enter debtor's state of residence:                        VA               b. Enter debtor's household size:           2           $         58,815.00
              Application of § 1325(b)(4). Check the applicable box and proceed as directed.

              o The amount on Line 15 is less than the amount on Line 16.                      Check the box for "The applicable commitment period is 3
    17             years" at the top of page 1 of this statement and continue with this statement.

              n The amount on Line 15 is not less than the amount on Line 16.                                       Check the box for "The applicable commitment period is
                   5 years" at the top of page 1 of this statement and continue with this statement.

     Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18        Enter the amount from Line 11.                                                                                                         $         12,000.00
              Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the
    19        income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of you or your
              dependents. If you are unmarried or married and filing jointly with your spouse, enter zero.
                                                                                                                                                     $           6,000.00
    20        Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.
                                                                                                                                                     $           6,000.00
              Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
    21
              12 and enter the result.
                                                                                                                                                     $         72,000.00
    22        Applicable median family income. Enter the amount from Line 16.
                                                                                                                                                     $         58,815.00
              Application of § 1325(b)(3). Check the applicable box and proceed as directed.

              n The amount on Line 21 is more than the amount on Line 22.                       Check the box for "Disposable income is determined under
    23             § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.

              o The amount on Line 21 is not more than the amount on Line 22.                       Check the box for "Disposable income is not
                   determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts
                   IV, V, or VI.



                  Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                          Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing, household supplies, personal care, and miscellaneous.
    24        Enter the "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family size and
              income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                         $           1,306.00
              Local Standards: housing and utilities; non-mortgage expenses. Enter amount of the IRS Housing
    25A       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                            $             318.00




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                                Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                      Desc Main
                                                                       Document      Page 30 of 33
Official Form 22C (Chapter 13) (10/06) - Cont.                                                                                                                   3

              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
              of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the
    25B       result in Line 25B. Do not enter an amount less than zero.
               a.      IRS Housing and Utilities Standards; mortgage/rent Expense                $                              1,389.00
               b.      Average Monthly Payment for any debts secured by your home,
                       if any, as stated in Line 47                                              $                              7,904.62
               c.      Net mortgage/rental expense                                               Subtract Line b from Line a.              $                0.00
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines
              25A and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your contention
              in the space below:
                                                                                                                                           $                0.00
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating a
              vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 7.
    27
              o0 o1             n 2 or more.
              Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
              number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                               $            433.00
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of
              vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
              than two vehicles.)

              o1       n 2 or more.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
    28        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter the result in
              Line 28. Do not enter an amount less than zero.

               a.      IRS Transportation Standards, Ownership Costs, First Car              $                                   471.00
                       Average Monthly Payment for any debts secured by Vehicle 1,
               b.      as stated in Line 47                                                  $                                      0.00
               c.      Net ownership/lease expense for Vehicle 1                             Subtract Line b from Line a.                  $            471.00
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if
              you checked the "2 or more" Box in Line 28.
              Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly
              Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter the result in
    29        Line 29. Do not enter an amount less than zero.

               a.      IRS Transportation Standards, Ownership Costs, Second Car             $                                   332.00
                       Average Monthly Payment for any debts secured by Vehicle 2,
               b.      as stated in Line 47                                                  $                                      0.00
               c.      Net ownership/lease expense for Vehicle 2                             Subtract Line b from Line a.                  $            332.00
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    30        federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes,
              social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                        $                0.00
              Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
    31        deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
              uniform costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                             $                0.00




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                        Desc Main
                                                                       Document      Page 31 of 33
Official Form 22C (Chapter 13) (10/06) - Cont.                                                                                                                  4


              Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
    32        term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or
              for any other form of insurance.                                                                                            $                0.00
              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
    33        required to pay pursuant to court order, such as spousal or child support payments. Do not include payments on
              past due support obligations included in line 49.                                                                           $                0.00
              Other Necessary Expenses: education for employment or for a physically or mentally
    34        challenged child. Enter the total monthly amount that you actually expend for education that is a condition of
              employment and for education that is required for a physically or mentally challenged dependent child for whom no
              public education providing similar services is available.                                                                   $                0.00
    35
              Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.               $                0.00
              Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
    36        health care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include
              payments for health insurance listed in Line 39.                                                                            $                0.00
              Other Necessary Expenses: telecommunication services. Enter the average monthly amount that you
              actually pay for telecommunication services other than your basic home telephone service - such as cell phones,
    37
              pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                          $                0.00
    38        Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                         $          2,860.00
                                             Subpart B: Additional Expense Deductions under § 707(b)
                                  Note: Do not include any expenses that you have listed in Lines 24-37
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List and total
              the average monthly amounts that you actually pay for yourself, your spouse, or your dependents in the following
              categories.

    39         a.         Health Insurance                                                   $                          0.00
               b.         Disability Insurance                                               $                          0.00
               c.         Health Savings Account                                             $                          0.00
                                                                                         Total: Add Lines a, b, and c                     $                0.00
              Continued contributions to the care of household or family members. Enter the actual monthly
              expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill,
    40
              or disabled member of your household or member of your immediate family who is unable to pay for such expenses.
              Do not include payments listed in Line 34.                                                                                  $                0.00
              Protection against family violence. Enter any average monthly expenses that you actually incurred to
    41        maintain the safety of your family under the Family Violence Prevention and Services Act or other applicable federal
              law. The nature of these expenses is required to be kept confidential by the court.                                         $                0.00
              Home energy costs. Enter the average monthly amount, in excess of the allowance specified by IRS Local
              Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your case
    42
              trustee with documentation demonstrating that the additional amount claimed is reasonable and
              necessary.                                                                                                                  $                0.00
              Education expenses for dependent children less than 18. Enter the average monthly expenses that
              you actually incur, not to exceed $125 per child, in providing elementary and secondary education for your dependent
    43
              children less than 18 years of age. You must provide your case trustee with documentation demonstrating
              that the amount claimed is reasonable and necessary and not already accounted for in the IRS Standards.                     $                0.00
              Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
    44        percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
              bankruptcy court.) You must provide your case trustee with documentation demonstrating that the
              additional amount claimed is reasonable and necessary.                                                                      $                0.00
    45
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
              cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                         $                0.00
    46        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                                 $                0.00




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                        Desc Main
                                                                       Document      Page 32 of 33
Official Form 22C (Chapter 13) (10/06) - Cont.                                                                                                                  5


                                                             Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that
              you own, list the name of creditor, identify the property securing the debt, and state the Average Monthly Payment.
    47        The Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months
              following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and
              insurance required by the mortgage. If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt           60-month Average Payment
                      America's Servicing                          43118 Rocky Ridge Court,
                 a.   Company                                      Lansdowne, Virginia 20176        $                      5,500.00
                                                                   43118 Rocky Ridge Court,
                 b.   Ocwen                                        Lansdowne, Virginia 20176        $                      2,404.62
                                                                                                                    Total: Add Lines      $          7,904.62
              Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
              a motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48        your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the payments
              listed in Line 47, in order to maintain possession of the property. The cure amount would include any sums in default
              that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in the following chart.
              If necessary, list additional entries on a separate page.
                      Name of Creditor                             Property Securing the Debt            1/60th of the Cure Amount
                      America's Servicing                          43118 Rocky Ridge Court,
                 a.   Company                                      Lansdowne, Virginia 20176        $                           666.67
                                                                   43118 Rocky Ridge Court,
                 b.   Ocwen                                        Lansdowne, Virginia 20176        $                           300.00
                                                                                                                    Total: Add Lines      $            966.67
    49
              Payments on priority claims. Enter the total amount of all priority claims (including priority child support and
              alimony claims), divided by 60.                                                                                             $            149.65
              Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
              resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                     $                                0.00
    50         b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                                 x                                6.00
               c.        Average monthly administrative expense of Chapter 13 case              Total: Multiply Lines a and b             $                0.00
    51        Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                  $          9,020.94
                                               Subpart D: Total Deductions Allowed under § 707(b)(2)
    52        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46, and 51.                                 $        11,880.94


                                Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53        Total current monthly income. Enter the amount from Line 20.                                                                $          6,000.00
              Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54        payments for a dependent child, included in Line 7, that you received in accordance with applicable nonbankruptcy
              law, to the extent reasonably necessary to be expended for such child.                                                      $                0.00
              Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions made
    55        to qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from retirement plans, as
              specified in § 362(b)(19).                                                                                                  $                0.00
    56        Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                           $        11,880.94
    57
              Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, and 56 and
              enter the result.                                                                                                           $        11,880.94
    58        Monthly Disposable Income Under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.                           $         -5,880.94




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy
           Case 07-10381-SSM                             Doc 15          Filed 03/14/07 Entered 03/14/07 16:11:09                       Desc Main
                                                                       Document      Page 33 of 33
Official Form 22C (Chapter 13) (10/06) - Cont.                                                                                                                   6


                                                              Part VI. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under §
              707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
              each item. Total the expenses.

    59                 Expense Description                                                                                 Monthly Amount
               a.                                                                                             $
               b.                                                                                             $
               c.                                                                                             $
               d.                                                                                             $
                                                                             Total: Add Lines a, b, c and d   $




                                                                            Part VII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                             Date:    March 14, 2007                                       Signature: /s/ Michelle Naomi Campbell-Thomas
    60
                                                                                                                  Michelle Naomi Campbell-Thomas
                                                                                                                          (Debtor)




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy
